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                         PII
From:                                                PII
Sent:                           Tuesday, April 4, 2023 12:02 PM
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                                PII/E-mail per ECF No.



Cc:                                                  PII
Subject:                        Comisionado del Instituto Nacional de Migración,                          PII
Attachments:                    CBP_0013548.pdf; Dousa Order - Excerpts.pdf

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Dear Comisionado,

I am forwarding the below communication on behalf of Deputy Executive Director
                                                                 PII   .
__________________________________________________________________________________________
______________________________

Dear Comisionado del Instituto Nacional de Migración,                               PII

On March 21, 2023, a United States District Court ordered CBP to “fully and immediately rescind[] and
revoke[]” a request made by a CBP employee in a December 10, 2018 e-mail from Saro Oliveri to        PII
   PII @inami.gob.mx) concerning Kaji Rosa Spellman Dousa and other individuals. For your reference, a
copy of the e-mail and the relevant portion of the Court’s Order is attached.

Accordingly, I write to fully and immediately rescind and revoke the attached e-mail and the request it
communicated. Specifically, I rescind and revoke the e-mail’s request with respect to Kaji Rosa Spellman
Dousa and all other individuals identified in the e-mail. Pursuant to the Court’s Order, the e-mail should be
considered completely withdrawn.

Please ensure that this message is communicated to the appropriate officials in your office. Please contact me if
you have any questions or require any additional information.

__________________________________________________________________________________________
_____________________

Estimado Comisionado del Instituto Nacional de Migración,                                 PII

El 21 de marzo de 2023, un Tribunal de un Distrito Federal de los Estados Unidos ordenó a CBP que
“rescindiera y revocara” de manera total e inmediata una solicitud realizada por un empleado de CBP mediante
correo electrónico con fecha del 10 de diciembre de 2018, de Saro Oliveri a      PII
         @inami.gob.mx) acerca de Kaji Rosa Spellman Dousa y otras personas. Para su referencia, se adjunta
PII/E-ma l per ECF No.




una copia del correo electrónico y la parte pertinente a la Orden del Tribunal.

En consecuencia, escribo para rescindir y revocar total e inmediatamente el correo electrónico adjunto y la
solicitud comunicada. Específicamente, rescindo y revoco la solicitud del correo electrónico con respecto a Kaji
Rosa Spellman Dousa y todas las demás personas identificadas en correo electrónico. De conformidad con la
Orden del Tribunal, el correo electrónico y la solicitud implícita, debe considerarse completamente retirado.
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Asegúrese de que este mensaje se comunique a los funcionarios correspondientes de su oficina. Por favor,
póngase en contacto conmigo si tiene alguna pregunta o necesita cualquier información adicional.


Gracias,\
    PII
Deputy Executive Director
Office of Field Operations
U.S. Customs and Border Protection

Gracias,

       PII
(I) CBP Attaché / Agregado de Aduanas Y Protección Fronteriza
U.S. Embassy PII/LES / Embajada de los Estados Unidos República de Mexico
U.S. Cell PII/Phone per ECF No. 49
CBP email –PII/E-mail per ECF No. 49
State Email –PII/E-mail per ECF No. 49




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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   KAJI DOUSA,                                            Case No.: 19-CV-1255 TWR (KSC))
12                                         Plaintiff,
                                                            STATEMENT OF FINDINGS OF
13   v.                                                     FACTS AND CONCLUSIONS OF
                                                            LAW FOLLOWING BENCH TRIAL
14   U.S. DEPARTMENT OF HOMELAND
     SECURITY (“DHS”);
15                                                          (ECF Nos. 137–39)
     U.S. IMMIGRATION AND
16   ENFORCEMENT (“ICE”);
     U.S. CUSTOMS AND BORDER
17
     PROTECTION (“CBP”); ALEJANDRO
18   MAYORKAS, Secretary of DHS;
     TAE D. JOHNSON, Acting Director of
19
     ICE; CHRIS MAGNUS, Commissioner of
20   CBP; and SIDNEY AKI, Director of Field
     Operations for CBP, San Diego, 1
21
                                       Defendants.
22
23          Plaintiff Pastor Kaji Dousa initiated this action by filing her operative Complaint for
24   Declaratory and Injunctive Relief on July 8, 2019, alleging four causes of action for
25
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     1
       Pursuant to Federal Rule of Civil Procedure 25(d), Secretary of DHS Alejandro Mayorkas is
27   automatically substituted for Kevin K. McAleenan, Acting Director of ICE Tae D. Johnson for Matthew
28   T. Albence, Acting Commissioner of CBP Troy A. Miller for Mark A. Morgan, and Director of Field
     Operations for CBP, San Diego (“DFO”) Sidney Aki for Peter Flores.

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                                                                                   19-CV-1255 TWR (KSC)
 Case
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 1   the United States in a proceeding for review of an agency action, unless the court finds
 2   ‘that the position of the United States was substantially justified or that special
 3   circumstances make an award unjust.’” Costa v. Comm’r of Soc. Sec. Admin., 690 F.3d
 4   1132, 1135 (9th Cir. 2012) (quoting 28 U.S.C. § 2412(d)(1)(A)).
 5         26.    Here, the Court finds that the CBP violated Dousa’s First Amendment rights
 6   when Oliveri emailed the Mexican government on December 10, 2018. See supra Sections
 7   II–IV. Dousa is therefore entitled to at least some of her reasonable costs and attorneys’
 8   fees. What proportion of her costs and attorneys’ fees Dousa is entitled to recover depends
 9   on the resolution of two questions: “First, did the plaintiff fail to prevail on claims that
10   were unrelated to the claims on which he succeeded? Second, did the plaintiff achieve a
11   level of success that makes the hours reasonably expended a satisfactory basis for making
12   a fee award?” See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). The Court therefore
13   defers ruling on the amount of Dousa’s award of reasonable costs and attorneys’ fees
14   pending the receipt of additional briefing from the Parties, as discussed below.
15                                CONCLUSION AND RULING
16         27.    Ultimately, the Court concludes that Dousa has established that the CBP
17   unlawfully retaliated against her for her protected First Amendment activity, violated her
18   Free Exercise right to minister to migrants in Mexico, and violated the RFRA when Oliveri
19   emailed Mexican authorities on December 10, 2018, that “there exist[ed] a great possibility
20   that [she] d[id] not have adequate documentation to be in Mexico” and that she should be
21   “den[ied] . . . entry to Mexico” and “sen[t] . . . back to the United States.”
22         28.    Accordingly, within fourteen (14) days of the date on which this Order is
23   electronically docketed, Defendants SHALL COMMUNICATE in writing to appropriate
24   Mexican immigration authorities that their request in Oliveri’s December 10, 2018 email
25   is fully and immediately rescinded and revoked as to Dousa.             Defendants SHALL
26   SUBMIT a copy of such communication to the Court.
27         29.    Pursuant to the EAJA, the Court AWARDS Dousa her reasonable costs and
28   attorneys’ fees as the prevailing party in this case. Dousa MAY FILE a properly supported

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 1   motion regarding her reasonable costs and attorneys’ fees, including whether the fee award
 2   should be reduced given Dousa’s partial success, on or before April 24, 2023. Should
 3   Dousa file a motion under the EAJA, Defendants SHALL FILE their opposition on or
 4   before May 15, 2023, and Dousa MAY FILE an optional reply, if any, on or before
 5   May 29, 2023. Upon completion of the briefing, the Court will take the matter under
 6   submission without oral argument pursuant to Civil Local Rule 7.1(d)(1). If the Court later
 7   determines that oral argument is necessary, it will set a hearing date.
 8         IT IS SO ORDERED.
 9   Dated: March 21, 2023
10                                                 _____________________________
                                                   Honorable Todd W. Robinson
11
                                                   United States District Judge
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Attachments:                        Read: Comisionado del Instituto Nacional de Migración,                        PII


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Instituto Nacional de Migración.
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